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 8                                                         UNITED STATES DISTRICT COURT

 9                                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                           )   Case No. 1:08-CR-00124 AWI
                                                                         )
12                                                          Plaintiff,   )   ORDER REGARDING DEFENDANT
                                                                         )   PIOQUINTO LARIOS SANTACRUZ’S
13          v.                                                           )   REQUEST FOR ORAL ARGUMENT ON
                                                                         )   GOVERNMENT’S MOTION TO DEFER
14   PIOQUINTO LARIOS SANTACRUZ,                                         )   PRODUCTION OF UNREDACTED
                                                                         )   TOLL RECORDS AND
15                                                         Defendant.    )
                                                                         )   ORDER REGARDING BRIEFING AND
16                                                                       )   ORAL ARGUMENT
                                                                         )
17

18                         TO THIS HONORABLE COURT, LAWRENCE G. BROWN, UNITED STATES

19   ATTORNEY, KAREN A. ESCOBAR, ASSISTANT UNITED STATES ATTORNEY, THE

20   PARTIES HEREIN AND THEIR COUNSEL:

21                         Defendant PIOQUINTO LARIOS SANTACRUZ, by and through his authorized

22   counsel, hereby notifies the Court and parties of the intended filing of his opposition to the

23   Government’s Motion to Defer Production of Unredacted Toll Records filed herein on August 19,

24   2009, and requests that the Court schedule oral argument on the motion on August 31, 2009, or

25   soon thereafter at the convenience of the Court, on the following grounds:

26                         1.             On July 14, 2009, Defendant PIOQUINTO LARIOS SANTACRUZ filed his

27   Supplemental Motion for Discovery requesting, among other things, unredacted copies of redacted

28   telephone toll records earlier produced in discovery by the United States Government.
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 1                  2.      On July 17, 2009, Defendant HORTENCIA FLORES, through her

 2   authorized counsel, joined in Defendant SANTACRUZ’s Supplemental Motion for Discovery.

 3                  3.      On August 3, 2009, the government filed its opposition to the Defendant

 4   SANTACRUZ’S Supplemental Motion for Discovery. The government vigorously argued that it

 5   should not be required to produced unredacted wiretap records. The government did not address

 6   the Defendants’ request for unredacted copies of the redacted toll records.

 7                  4.      On August 10, 2009, the Defendant SANTACRUZ’S Supplemental Motion

 8   for Discovery duly came before the Court for hearing. After hearing oral argument, the Court

 9   ordered the government to produce unredacted copies of the redacted toll records on or before

10   August 31, 2009.

11                  5.      On August 19, 2009, the government filed its “Motion to Defer Production

12   of Unredacted Toll Records.” Although it is not clearly labeled as a motion for reconsideration

13   under Local Rule 12-430(i), the government is clearly asking the Court to reconsider its Order that

14   the government produce unredacted copies of the redacted toll records. Under Local Rule

15   12-430(i), motions for reconsideration are governed, in part, by Local Rule 72-303(b).

16                  6.      Subdivision (b) of Local Rule 72-303 provides that a motion for

17   reconsideration shall be filed within 10 court days calculated from the date of service of the ruling.

18   The government’s motion, filed on August 19, 2009, is a timely motion for reconsideration.

19                  7.      Subdivision (d) of Local Rule 72-303 provides that the opposition to a

20   request for reconsideration shall be served and filed within five court days after service of the

21   request for reconsideration. Here, opposition briefs are due on August 26, 2009.

22                  8.      Subdivision (e) of Local Rule 72-303 provides that unless otherwise

23   ordered, requests for reconsideration in criminal actions shall be calendared and heard at the trial

24   confirmation. Defendant SANTACRUZ submits that holding the hearing on the government’s

25   motion for reconsideration on December 21, 2009, the date presently set for trial confirmation of

26   the trial set for January 12, 2010, would not allow Defendant SANTACRUZ sufficient time for

27   trial preparation and investigation based on the unredacted telephone toll records. Therefore,

28   Defendant SANTACRUZ respectfully requests that the Court set oral argument on the

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 1   government’s motion for reconsideration on August 31, 2009, during the Court’s regular criminal

 2   calendar, or on a later date and time at the Court’s convenience. Defendant SANTACRUZ will

 3   stipulate that the unredacted toll records do not have to be produced until after the Court considers

 4   the government’s motion for reconsideration provided that the hearing on the motion for

 5   reconsideration is held in a timely fashion.

 6                  Based on the foregoing, Defendant PIOQUINTO LARIOS SANTACRUZ

 7   respectfully notifies the Court that he intends to file an opposition to the Government’s Motion to

 8   Defer Production of Unredacted Toll Records on August 26, 2009, and requests that the hearing on

 9   the government’s motion be heard on August 31, 2009, at 9:00 a.m., or at a later date and time at

10   the convenience of the Court.

11          DATED: August 20, 2009.                        Respectfully submitted,

12                                                         BAKER MANOCK & JENSEN, PC

13
                                                           By /s/ Robert D. Wilkinson
14                                                         Robert D. Wilkinson
                                                           Attorneys for Defendant PIOQUINTO
15                                                         LARIOS SANTACRUZ

16

17                                                  ORDER

18                  Having considered Defendant PIOQUINTO LARIOS SANTACRUZ’s notification

19   and request set forth above, and good cause appearing therefor,

20                  IT IS HEREBY ORDERED that Defendant PIOQUINTO LARIOS SANTACRUZ

21   and any other Defendant in this action may file an opposition to the Government’s Motion to

22   Defer Production of Unredacted Toll Records on or before August 26, 2009, and that the hearing

23   on the government’s motion shall be held on September 8, 2009, at 9:00 a.m.

24   IT IS SO ORDERED.

25   Dated:     August 25, 2009                        /s/ Anthony W. Ishii
     9h0d30                                   CHIEF UNITED STATES DISTRICT JUDGE
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